                          UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION




  In re RealPage, Inc. Rental Software Antitrust Case No. 3:23-md-03071
  Litigation                                     MDL No. 3071

                                               Judge Waverly D. Crenshaw, Jr.

                                               This Document Relates to:

                                               3:23-cv-00332
                                               3:23-cv-00357
                                               3:23-cv-00979




     [PROPOSED] ORDER GRANTING DEFENDANT EQUITY RESIDENTIAL’S
  UNOPPOSED MOTION TO EXCUSE THE APPEARANCE OF CARL W. HITTINGER
             AT THE NOVEMBER 8, 2024 STATUS CONFERENCE

        Having considered Defendant Equity Residential’s unopposed motion to excuse the

 appearance of Carl W. Hittinger at the November 8, 2024 status conference, the Court GRANTS

 the motion.

        IT IS SO ORDERED.

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                                           WAVERLY D. CRENSHAW, JR.
                                           UNITED STATES DISTRICT JUDGE




Case 3:23-md-03071      Document 1009-1      Filed 10/31/24    Page 1 of 1 PageID #: 16713
